











Opinion issued January 6, 2006











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–05–01039–CV
____________

IN RE WILLIAM ROBERT THOMAS, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator William Robert Thomas filed a petition for a writ of mandamus
complaining of Judge Galik’s order denying a motion for new trial.



&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for a writ of mandamus.
&nbsp;
PER CURIAM
Panel consists of Chief Justice Radack and Justices Alcala and Bland.


